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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 KENNETH ALBRECHT, individually                      )
 and on behalf of all others similarly               )
 situated,                                           )     Case No. 1:18-cv-1061
                                                     )
                         Plaintiff,                  )     Hon. Harry D. Leinenweber
                                                     )
           v.                                        )     Hon. M. David Weisman
                                                     )
 OASIS POWER, LLC d/b/a OASIS                        )
 ENERGY,                                             )
                                                     )
                       Defendant.                    )

                UNOPPOSED MOTION TO ENTER CONFIDENTIALITY ORDER

         Plaintiff Kenneth Albrecht (“Plaintiff”) respectfully requests that the Court enter an order

governing the exchange of confidential information in the form of the proposed order submitted

to the Court’s proposed order inbox. Prior to filing this motion, Plaintiff conferred with

Defendant Oasis Power, LLC (“Defendant”), who does not oppose the entry of the proposed

order.



Dated: April 2, 2018                           Respectfully submitted,

                                               By:       /s/ Katrina Carroll

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                                             Putative Class




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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that a true and correct copy of the

foregoing Unopposed Motion To Enter Confidentiality Order was served this 2nd day of

April 2018 via the Court’s electronic filing system on all counsel of record.



                                                     /s/ Katrina Carroll




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